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                              United States District Court
                              Southern District of Florida

                      Case No. 16-20549-Cr-Scola/Otazo-Reyes

   United States of America

   vs.

   Philip Esformes,

                      Defendant.
                                             /

          Order Denying Ore Tenus Motion to Dismiss Counts of the Third
         Superceding Indictment for Which the Jury Did not Reach a Verdict

          This matter was before the Court on November 21, 2019 for argument on
   the amounts of restitution and forfeiture to be imposed. At the conclusion of the
   hearing, a discussion was held concerning the status of the counts for which the
   jury did not reach a verdict (Counts 1, 14, 15, 22, 23, and 33). The Government
   suggested entering into an agreement to toll the Speedy Trial Period for those
   counts pending the appeals of the Defendant’s conviction and prison sentence
   [ECF No. 1387], the forfeiture orders [ECF No. 1455 and 1456] and the
   restitution order [as reflected in the minute entry at ECF No. 1457]. The
   Defendant then moved, ore tenus, to dismiss those counts for violation of the
   Speedy Trial Act claiming that more than 70 days had passed since a mistrial
   was declared based upon the jury’s inability to reach verdicts for those counts.
          Although the Court ordered the Government to file a written response to
   the ore tenus motion within 10 days, the Court, upon reviewing the docket and
   conducting research, believes no response is necessary. Upon reviewing the
   transcripts of the hearings following receipt of the jury verdict, there apparently
   was no discussion by the Court or the parties relating to the hung counts.
   Instead everyone was focused on the jury instructions and other issues relating
   to the forfeiture proceedings before the jury. The Court thus, inadvertently
   neglected to announce a mistrial on those counts. By this order, the Court
   declares a mistrial on Counts 1, 14, 15, 22, 23, and 33.
          Even had the Court announced a mistrial on April 5, 2019 when the jury
   verdict was returned, the Court finds that the Speedy Trial Act has not been
   violated. See United States v. Gaffney, 689 F. Supp. 1578 (Fla. M.D. 1988). It is
   not the act of announcing a mistrial which commences the 70-day period to retry
   a defendant, it is the setting of the new trial date by the Court which occasions
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   the commencement of the 70-day period.
          And, even if the 70-day period began to run on April 5, 2019, the forfeiture
   proceedings, sentencing, post-trial motions and other motions and litigation
   pending through today’s date have tolled the Speedy Trial Act time periods.
          The Court hereby sets Counts 1, 14, 15, 22, 23, and 33 for trial during the
   two-week period commencing January 21, 2020 with a calendar call set for
   January 14, 2020 at 9:00 a.m. Unless the parties reach an agreement to toll the
   time periods pending the appeals or the Government dismisses those counts the
   trial will go forward in January.

         Done and ordered in chambers at Miami, Florida, on November 21, 2019.



                                               ______________________________
                                               Robert N. Scola Jr.
                                               United States District Judge




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